               Case 14-10979-CSS              Doc 6489-1          Filed 10/16/15         Page 1 of 3




                  IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE
__________________________________________
                                           )
In re:                                     ) Chapter 11
                                           )
Energy Future Holdings Corp., et al.,1     ) Case No. 14-10979 (CSS)
                                           )
                           Debtors.        ) (Jointly Administered)
                                           )
                                           ) Objection Deadline: November 6, 2015 at 4:00 p.m.
                                           ) Hearing Date: To be determined.


                             NOTICE OF INTERIM FEE APPLICATION

         PLEASE TAKE NOTICE that FTI Consulting, Inc. (the “Applicant”) has filed the

attached Fourth Interim Fee Application of FTI Consulting, Inc., Financial Advisor to the

Official Committee of Unsecured Creditors, for Allowance of Compensation for Services

Rendered and Reimbursement of Expenses Incurred for the Period May 1, 2015 through August

31, 2015 (the “Interim Fee Application”) with the United States Bankruptcy Court for the

District of Delaware (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the Interim Fee

Application must be made in accordance with the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Professionals, dated September 16, 2014

[D.I. 2066] (the Administrative Order”), and must be filed with the Clerk of the United States

Bankruptcy Court for the District of Delaware, 824 N. Market Street, Wilmington, Delaware

19801, and be served upon and received by (i) the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), Energy Future Holdings Corp., et al., 1601 Bryan


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          The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of
the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of their
federal tax identification numbers are not provided herein. A complete list of such information may be obtained on
the website of the debtors’ claims and noticing agent at http://efhcaseinfo.com.



51512147.1
             Case 14-10979-CSS      Doc 6489-1     Filed 10/16/15    Page 2 of 3




Street, 43rd Floor, Dallas, TX, 75201, Attn: Andrew M. Wright and Cecily Gooch; (ii) co-

counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue, New York, NY 10022,

Attn: Brian E. Schartz and Kirkland & Ellis LLP, 300 North LaSalle, Chicago, IL 60654, Attn:

Chad Husnick; (iii) proposed co-counsel to the Debtors, Richards, Layton & Finger, P.A., 920

North King Street, Wilmington, DE 19801, Attn: Daniel J. DeFranceschi and Jason M. Madron;

(iv) Roberta A. DeAngelis, the United States Trustee for Region 3, J. Caleb Boggs Federal

Building, 844 King Street, Room 2207, Wilmington, DE 19801, Attn: Richard L. Schepacarter

and U.S. Department of Justice, Office of the U.S. Trustee, U.S. Federal Building, 201 Varick

Street, Room 1006, New York, NY 10014, Attn: Andrea B. Schwartz; (v) counsel for the agent

of the EFIH First Lien DIP Financing Facility, Shearman & Sterling LLP, 599 Lexington

Avenue, New York, NY 10022, Attn: Ned Schodek and Fredric Sosnick; (vi) counsel for the

agent of the TCEH DIP Financing Facility, Milbank, Tweed, Hadley & McCloy LLP, 1 Chase

Manhattan Plaza, New York, NY 10005, Attn: Evan Fleck and Matthew Brod; (vii) counsel to

the Official Committee of Unsecured Creditors (the “TCEH Committee”), Morrison & Foerster

LLP, 250 W. 55th Street, New York, NY 10019, Attn: Brett H. Miller and Lorenzo Marinuzzi;

(viii) co-counsel to the TCEH Committee, Polsinelli PC, 222 Delaware Avenue, Suite 1101,

Wilmington, DE 19801, Attn: Christopher A. Ward and (ix) counsel to the fee committee,

Godfrey & Kahn, S.C., One East Main Street, Madison, WI 53703, Attn: Katherine Stadler, by

no later than 4:00 p.m. (Eastern Daylight Time) on November 6, 2015 (the “Objection

Deadline”)

         PLEASE TAKE FURTHER NOTICE that a hearing on the Interim Fee Application

will be held on a date and time to be determined before the Honorable Christopher S. Sontchi,




                                             2
51512147.1
             Case 14-10979-CSS      Doc 6489-1     Filed 10/16/15    Page 3 of 3




United States Bankruptcy Judge, United States Bankruptcy Court for the District of Delaware,

824 Market Street, 5th floor, Courtroom no. 6, Wilmington, Delaware 19801.

     PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN
ACCORDANCE WITH THIS NOTICE BY THE OBJECTION DEADLINE, THE
RELIEF REQUESTED IN THE INTERIM FEE APPLICATION MAY BE GRANTED
WITHOUT FURTHER NOTICE OR HEARING.

Dated: Wilmington, Delaware
       October 16, 2015                   MORRISON & FOERSTER LLP
                                          James M. Peck
                                          Brett H. Miller
                                          Lorenzo Marinuzzi
                                          Todd M. Goren
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                                                   lmarinuzzi@mofo.com
                                                   tgoren@mofo.com

                                                  -and-

                                          /s/ Christopher A. Ward ______________________
                                          Christopher A. Ward (Del. Bar No. 3877)
                                          Justin K. Edelson (Del. Bar No. 5002)
                                          Shanti M. Katona (Del. Bar No. 5352)
                                          Jarrett Vine (Del. Bar No. 5400)
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                                          Attorneys for the Official Committee of TCEH
                                          Unsecured Creditors of Energy Future Holdings
                                          Corp., et al.




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